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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


DEVIN G. NUNES,


           Plaintiff,
                                            Case No. 1:21-cv-00506 (CJN)
v.

WP COMPANY LLC, d/b/a THE
WASHINGTON POST and ELLEN
NAKASHIMA,


           Defendants.


     DEFENDANTS’ MOTION TO COMPEL DISCOVERY FROM PLAINTIFF



                                   WILLIAMS & CONNOLLY LLP

                                   Kevin T. Baine (D.C. Bar No. 238600)
                                   Thomas G. Hentoff (D.C. Bar No. 438394)
                                   Nicholas G. Gamse (D.C. Bar No. 1018297)
                                   Sean M. Douglass (D.C. Bar No. 1033069)

                                   680 Maine Avenue, SW
                                   Washington, DC 20024
                                   Telephone: (202) 434-5000
                                   Facsimile: (202) 434-5029
                                   thentoff@wc.com

                                   Counsel for Defendants
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                                        INTRODUCTION

       Plaintiff Devin Nunes, former Chairman of the House Intelligence Committee, sued The

Washington Post and Ellen Nakashima (collectively, the “Post”) for defamation arising out of a

November 2020 article (the “Article”) which referred in two sentences to Nunes’s so-called

“midnight run” to the White House on March 21, 2017. Nunes’s lawsuit has placed squarely at

issue a number of topics, including the truth of what happened that day and any claimed injury to

him resulting from the Article’s publication more than three-and-a-half years later. Nunes

asserts that statements regarding the so-called “midnight run” are false because his White House

visit occurred during daylight hours and because it was not motivated to support baseless claims

of wiretapping made by former President Donald Trump. Accordingly, the Post served

discovery requests on Nunes seeking documents and information relating to the timing and

purpose of his White House visit, Nunes’s communications before and after that visit made

national headlines, and harms Nunes claims to have suffered in late 2020 from the Article’s

reference to that visit. But Nunes has failed to comply with his most basic obligations under the

discovery rules to collect and produce documents and information concerning those topics.

       In a case in which he has claimed $200 million in alleged damage to his reputation,

Nunes has made little more than a superficial effort to satisfy his discovery obligations. He has

not produced any communications from himself or within his staff, and has not even tried to

collect non-public documents from anyone other than his spokesman. Aside from his

spokesman, he has refused to consult with any of the staff in his employ during the events in

question. For example, even though his schedule on March 20 and 21, 2017 is directly at issue

because Nunes claims he was defamed by the statement that his White House trip occurred

“reportedly late at night,” Nunes refused to consult the scheduler on his staff at the time, Jennifer

Morrow, or collect her documents. At an even more basic level, in response to an interrogatory
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seeking the accounts, repositories, or other sources housing any relevant documents, he refused

to identify where documents are located for his staff, or even for himself, frustrating the Post’s

ability to understand what responsive documents should exist, where they should be stored, and

whether they were preserved and collected. Nunes likewise failed to seek out information

available to him from staff and documents to respond to interrogatories, instead relying primarily

on his unrefreshed memory and consultation with his spokesman, regarding fundamental matters

he acknowledges he cannot recall but which he placed at issue in this lawsuit.

       Many of Nunes’s responses to interrogatories are also evasive or contradicted by his own

statements or the public record. That is true even for requests seeking basic information about

the identities of witnesses or the locations of sources of information that relate to his allegations.

       Nunes’s initial disclosures are also deficient. In violation of the rules of civil procedure,

he refused to provide the bases for his assertion in his initial disclosures that he suffered

hundreds of millions of dollars in damages from publication of the Article—even after

representing to the Court and the Post that he would supplement his initial disclosures “by April

29, 2022,” which he failed to do. Ex. G (Discovery Dispute Submission), at 4.

       The Post seeks the Court’s intervention to enforce the rules of discovery so the Post can

obtain basic information needed to pursue discovery, such as the identities of knowledgeable

witnesses and the internal documents and communications needed to probe the bases for Nunes’s

allegations and claimed damages. The Post respectfully requests that the Court order Nunes to

comply with the Post’s discovery requests—including by conducting a diligent search for

documents and information from his staff, and supplementing his initial disclosures, document

production, and interrogatory responses accordingly.




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                                        BACKGROUND

       In November 2020 the Post published the Article, which reported on the appointment of

Michael Ellis, a former staffer to Congressman Devin Nunes, as NSA general counsel. Nunes—

who had served for the past four years as Chairman of the House Permanent Select Committee

on Intelligence (“Intelligence Committee”)—sued the Post and Post journalist Ellen Nakashima

for defamation for two statements in the Article’s background section. The first statement: “In

March 2017, [Ellis] gained publicity for his involvement in a questionable episode involving

Nunes, who was given access at the White House to intelligence files that Nunes believed would

buttress his baseless claims of the Obama administration spying on Trump Tower,” which Nunes

asserts is false because he did not make or believe claims of wiretapping, ECF No. 22 (“Am.

Compl.”) ¶¶ 17(a)-(c). The second statement: “News reports stated that Ellis was among the

White House officials who helped Nunes see the documents — reportedly late at night, earning

the episode the nickname ‘the midnight run,’” which Nunes asserts is false because the events

occurred during daytime, id. ¶ 22(a).

       After the Court denied a motion to dismiss, the parties met and conferred to discuss fact

discovery, including the Post’s request for “Plaintiff to confirm that in responding to Defendants’

discovery requests, he would collect and produce documents or information from his

congressional and campaign offices and staffers” over which “he has actual or constructive

possession, custody, or control.” ECF No. 44 ¶ 16(b). In an October 1, 2021 submission to the

Court, Nunes represented that “in response to party discovery he will produce any documents or

information that may be in the possession or control of his congressional staff,” and do so

“without the need for third-party discovery.” Id.

       In initial disclosures served weeks later, Nunes identified only one staff member likely to

have discoverable information relating to his allegations of defamation: Jack Langer, Nunes’s


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spokesman and communications director. Ex. H (Pl.’s Initial Disclosures), at 2. Nunes also

claimed $200 million in damages, including $100 million in “actual injuries,” $50 million in

“presumed damages,” $25 million in “special damages,” and $25 million in “punitive damages”

without any computation or explanation of those figures. Id. at 3-4.

       The Post subsequently served Nunes with discovery requests relating to his defamation

claim and claimed damages. Among other things, the Post’s requests sought any documents and

information relating to Nunes’s White House visit on March 21, 2017, Nunes’s public and

private statements before and after that visit made national headlines, and the harms Nunes

purportedly suffered in late 2020 from the Article’s reference to that visit. The Post’s requests

sought documents and information from Nunes’s Congressional Office staff (employees at

Nunes’s congressional offices, including between 13 and 18 employees at any given time

between 2017 and 2020), Intelligence Committee staff (employees who reported to or were hired

by Nunes as Chairman or Ranking Member of the Intelligence Committee, including 22

employees in 2017 and 2018 when Nunes was Chairman), and Campaign staff (employees of the

Devin Nunes Campaign Committee or other campaign committees Nunes controls, including his

campaign manager and political consultants).

       Rather than search for documents and information responsive to those requests among his

many agents, Nunes opted to rely on certain documents of one staffer: his spokesman, Langer.

Nunes admitted: “The only person I communicated with in preparing the documents, aside from

my attorney, was Jack Langer.” Ex. E (Pl.’s Resps. to Defs.’ 3d Discovery Requests), at 5.

       Thus, in his responses to the Post’s requests for production of documents, Nunes

produced only 109 emails—all from Langer—none of which reflect any “internal” discussion

with Nunes or among Nunes’s Congressional Office, Intelligence Committee, or Campaign staff.




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Three-quarters (85) of the emails constitute “external,” media-facing correspondence between

Langer and journalists, and the remaining (24) emails simply contain public news articles or

press releases—including “Nunes in the News” compilations circulated by a “DC Intern” in

Nunes’s office. The only other documents Nunes produced include a two-page “agenda” for two

days in March 2017, three widely reported letters from the Intelligence Committee to U.S.

government agencies, and 51 Word or PDF documents that reflect publicly available information

(e.g., financial disclosure reports, statements of disbursements, and staff lists) or appear to have

been created for use in this litigation (e.g., documents titled “Appendix” and subtitled “Social

Media attacks,” “Sources Impeaching WaPo Russia Collusion Coverage,” “Threats,” or “WaPO

Timeline”). Nunes did not produce any of the metadata the Post requested for any of those

documents, including metadata that would identify a document’s custodian or the date when it

was created or last modified. Nunes also did not produce any internal communications, notes,

drafts, or other documents, and did not produce any external communications with individuals

other than journalists, such as White House employees. In response to most of the Post’s

document requests, Nunes denied that documents exist (stating “None” for Request Nos. 4, 7-19,

24, 28-29, 34-36, 38, 41), or cited a few documents (such as the “Appendices”) without

committing to search for all responsive documents in his possession, custody, or control (e.g.,

stating: “See Appendix A; Appendix E; Appendix F; Press releases cited in response to request

no. 1” for Request Nos. 8-10). See Ex. A (Pl.’s Resps. to Defs.’ 1st Discovery Requests) at 16–

28; Ex. C (Pl.’s Resps. to Defs.’ 2d Discovery Requests), at 7-10.

       Nunes also failed to provide basic information in response to the Post’s interrogatories,

such as the identities of any staffers other than Langer with “knowledge or information

concerning the allegations in this action,” Ex. B (Interrog. No. 2), at 3-5, “knowledge




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of . . . damages,” id. (Interrog. Nos. 6, 11), at 6-13, 17-18, or “relevant documents,” id. (Interrog.

No. 16), at 7. Instead, Nunes asserted, “I have no relevant documents in my custody, possession,

or control aside from the documents I have already provided,” id. (Suppl. Resp. to Interrog. No.

16), and claimed that any other staffers had “no knowledge of these areas aside from what

[he/she] read in the press,” id. (Suppl. Resp. to Interrog. No. 15), at 3-6. Nunes limited many

responses to what he personally could “recall.” Id. at 8-9 (Suppl. Resp. to Interrog. No. 17: “I

cannot recall how my visits to the Eisenhower Executive Office Building or the White House

were arranged.”); Ex. B, at 5 (Suppl. Resp. to Interrog. No. 2: “I cannot recall with whom I

worked on specific statements and press releases five years ago, but most likely it was HPSCI

communications director Jack Langer.”); id. at 3 (Suppl. Resp. to Interrog. No. 1: “No specific

times were provided because I do not have a minute-by-minute account of my activities that day,

or any day for that matter.”). In response to interrogatories relating to his claimed damages of

$200 million, Nunes either restated allegations, id. (Resps. to Interrog. Nos. 6, 7, 9, 11), at 6-18,

or objected without answering, Ex. A (Resp. to Interrog. No. 13), at 13.

       On December 6, 2021, Nunes announced that he would resign from Congress to lead

former President Donald Trump’s new social media company, Trump Media and Technology

Group.2 The Post promptly asked Nunes to confirm that he would “ensure the preservation of

and continued access to all documents that may be relevant to his ongoing litigation with the

Washington Post after he leaves office, including those documents held by his current or former

Campaign Staff, Congressional Office Staff, or Intelligence Committee Staff.” Ex. I (Dec. 9,

2021 Email from N. Gamse to S. Biss). Nunes responded that his departure from Congress “has




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 Devin Nunes Will Quit the House To Take Over Trump’s Media Company, N.Y. TIMES (Dec. 6,
2021), https://www.nytimes.com/2021/12/06/us/politics/devin-nunes-trump.html.


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no impact on his efforts to preserve relevant documents and information,” and that “[a]ny and all

relevant documents have been preserved.” Id. (Dec. 10, 2021 Email from S. Biss to N. Gamse).

       The Post identified the deficiencies in Nunes’s discovery responses in detailed letters.

See Ex. J (Dec. 10, 2021 Letter from T. Hentoff to S. Biss); Ex. K (Feb. 17, 2022 Letter from T.

Hentoff to S. Biss). The parties exchanged further correspondence regarding Nunes’s discovery

responses, which culminated in a telephonic meet-and-confer on March 17, 2022. During the

meet-and-confer, Nunes’s counsel responded that in addressing discovery requests, Nunes

“generally relied on his own personal recollection, and had no documents.” Ex. L (Mar. 22,

2022 Letter from N. Gamse to S. Biss), at 2. Both on the call and in later correspondence, the

Post identified multiple individuals likely to have possessed information or documents

responsive to requests, such as Nunes’s former scheduler (Jennifer Morrow) and chiefs of staff

(Jillian Plank and Anthony Ratekin), Nunes’s Intelligence Committee assistants (Scott Glabe,

George Pappas, and the late Damon Nelson), and Nunes’s Campaign manager (Jake Mizner). Id.

at 3. Nunes’s counsel stated that he would consider seeking discovery from those individuals.

Id. at 2-3. Only Nunes knows the identities of other key agents—for example, the unidentified

staffer who Nunes publicly stated was accompanying him before his March 21, 2017 visit to the

White House, and the unidentified staffer who drafted content about this lawsuit for Nunes’s

campaign-funded website—and Nunes’s counsel agreed to identify those individuals. Id. The

Post requested that Nunes supplement his responses accordingly. Id. at 4.

       Nunes never responded. When the Post advised Nunes’s counsel that the Post intended

to raise this discovery dispute with the Court, Nunes’s counsel asserted that he “conducted a

reasonable search for responsive material,” “there is no further information to provide,” and

“there are no other custodians, including staffers and other employees at Plaintiff’s




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congressional, committee, and campaign offices who are in possession of any responsive

documents.” Ex. G, at 2. Nunes’s counsel did so even though he failed to provide information

he had agreed to collect regarding the individuals the Post identified as likely to have responsive

information or documents. Nunes also represented that he would “supplement his initial

disclosures by April 29, 2022 to include a more specific computation of each category of his

damages,” id. at 4, which he failed to do. The Court authorized this motion on June 6, 2022.

                                      LEGAL STANDARD

       A party may discover “any nonprivileged matter that is relevant to any party’s claim or

defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Interrogatories each

“must, to the extent it is not objected to, be answered separately and fully in writing under oath,”

with any grounds for objecting “stated with specificity.” Fed. R. Civ. P. 33(b)(3)-(4). Requests

for production of documents require a responding party to produce discoverable documents in its

“possession, custody, or control,” Fed. R. Civ. P. 34(a)(1), and impose “the same specificity

requirement” on any objections to doing so. Inova Health Care Servs. v. Omni Shoreham Corp.,

2021 WL 6503725, at *1 (D.D.C. Jan. 29, 2021). Courts “typically reject” as “inadequate” any

“partially responsive” answers or “generic,” “non-specific” objections to discovery requests. Id.

at *1, *4-5; Klayman v. Jud. Watch, Inc., 2008 WL 11394169, at *3 (D.D.C. Mar. 12, 2008).

       Under Federal Rule of Civil Procedure 37(a)(1), “a party may move for an order

compelling disclosure or discovery.” “The party that brings the motion to compel bears the

initial burden of proving that the opposing party’s answers were incomplete, and explaining how

the requested information is relevant.” Oxbow Carbon & Mins. LLC v. Union Pac. R.R. Co., 322

F.R.D. 1, 5-6 (D.D.C. 2017) (citations omitted). “If the movant satisfies this burden, the burden

then shifts to the non-movant to explain why discovery should not be permitted.” Id. at 6.




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                                          ARGUMENT

I.     Nunes Failed To Conduct a Reasonable Search in Response to the Post’s Document
       Requests.

       Nunes should be required to supplement his responses to the Post’s first two sets of

document requests (Request for Production Nos. 1-41) because of pervasive deficiencies in those

responses and in his document production. First, Nunes’s search for responsive documents was

unreasonably limited to the files of a single custodian—his spokesman, Jack Langer. Second,

Nunes’s production omitted any internal communications and other documents likely generated

by Nunes’s Congressional Office, Intelligence Committee, and Campaign staffers, and his

responses do not commit to producing all responsive documents in his possession, custody, or

control. Nunes’s assertions that other documents do not exist are implausible, particularly given

his limited search. His attempts to evade document requests by citing specific documents he

chooses to produce, or by objecting without specifying the bases for objections, are inadequate.

       A.      Nunes’s Designation of a Spokesman as His Sole Custodian Is Unreasonable.

       Nunes’s failure to collect and produce documents from anyone other than his spokesman

is unreasonable. In responding to document requests, a party must produce any responsive, non-

privileged documents in his “possession, custody, or control,” Fed. R. Civ. P. 34(a)(1), including

those the party has “the legal right, authority or ability to obtain,” Owens-Hart v. Howard Univ.,

317 F.R.D. 1, 6 (D.D.C. 2016). A party “has a duty to seek” documents “reasonably available to

him from his employees, agents, or others subject to his control,” and “cannot take a

purposefully restricted approach to discovery by furnishing only that information within his

immediate knowledge or possession.” Weaver v. Gross, 107 F.R.D. 715, 717 (D.D.C. 1985); see

Kleen Prods. LLC v. Packaging Corp. of Am., 2012 WL 4498465, at *15 (N.D. Ill. Sept. 28,

2012) (document custodian selection “must be designed to respond fully to document requests



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and to produce responsive, nonduplicative documents during the relevant period”).

       Nunes’s selection of a single document custodian among his many staffers reflects a

“purposefully restricted approach” that renders his discovery responses inadequate. Weaver, 107

F.R.D. at 717. Before he departed Congress, Nunes represented to the Court that he would

“produce any documents or information that may be in the possession or control of his

congressional staff,” ECF No. 44 ¶ 16(b), and promised the Post that his departure would have

“no impact” on production of responsive documents from current or former Congressional
                                                                                          3
Office, Intelligence Committee, or Campaign staff, which “have been preserved,” Ex. I. Yet by

his own admission, Nunes did not even attempt to collect documents from any staffer other than

his spokesman, Jack Langer. Ex. E, at 5 (Resp. to Interrog. No. 18: “The only person I

communicated with in preparing the [responses to the Post’s requests for production of

documents and interrogatories], aside from my attorney, was Jack Langer.”).

       Nunes’s failure is all the more serious because the Post’s discovery requests expressly

call for documents from Nunes’s “Congressional Office, Intelligence Committee, and Campaign

staff,” see, e.g., Ex. A (Request Nos. 4, 5, 8, 9, 12–14, 33, 34), at 16-20; see also Exs. O & P



3
 Even if Nunes had not promised to preserve and produce any responsive documents possessed
by his staff, courts have found that such documents are within the possession, custody, or control
of a Member of Congress. See, e.g., Jewish War Veterans of the U.S. of Am., Inc. v. Gates, 506
F. Supp. 2d 30, 59-63 (D.D.C. 2007) (compelling Members to produce e-mails between or
among staff); In re Grand Jury Subpoena John Doe, No. 05GJ1318, 584 F.3d 175, 187 (4th Cir.
2009) (compelling Member to produce documents of his chief of staff, deputy chief of staff, and
legislative assistant over which he “had constructive possession” because he “could have called
for them at any time”). That is consistent with the fact that Nunes employed his staff, see In re
Barnwell Enters. Ltd., 265 F. Supp. 3d 1, 16 (D.D.C. 2017) (“employers have control over their
employees and can be required to produce documents in their employees’ possession”), and
controlled his office’s records, see 115th, 116th, & 117th Congresses, House Rule VII ¶ 6(b),
(“Records created, generated, or received by the congressional office of a Member . . . in the
performance of official duties are exclusively the personal property of the individual
Member . . . and such Member . . . has control over such records.”).


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(Defs.’ Requests for Prod.), at 4 (defining those terms), and because the Post informed Nunes

during the meet and confer process that it is obvious from public records that many of his staffers

likely possess responsive documents, such as any of the following individuals:


          Congressional Office scheduler (Jennifer Morrow)—her role as “scheduler” signals

           she likely possesses, at minimum, “schedules” and other documents relating to

           Nunes’s White House visits (Request No. 2) or his “meetings” and “public

           appearances” (Request Nos. 18, 19).


          Congressional Office assistant (Kathryn Hopper)—her request to be reimbursed for

           paying for Nunes’s “taxi/parking/tolls” on the day of his March 21, 2017 White

           House visit suggests she likely possesses, at minimum, “travel expenses or receipts”

           and other documents relating to his White House visits (Request Nos. 2, 41).


          Congressional Office employee(s) (unknown)—Nunes publicly stated he “was in a

           cab with staff” and “dropped them off before” his March 21, 2017 White House visit.

           See Jake Tapper, Who cleared Devin Nunes into the White House? CNN (Mar. 28,

           2017), https://www.cnn.com/2017/03/27/politics/devin-nunes-white-house-donald-

           trump/index.html. But Nunes has not identified the “staff” whose email account(s) or

           other files likely include, at minimum, emails or other documents relating to that visit

           (Request No. 2). Nunes’s counsel agreed during the meet-and-confer process to

           identify the individual(s), but subsequently failed to do so.


          Congressional Office employee (unknown)—Nunes stated, “I cannot recall how my

           visits to the Eisenhower Executive Office Building or the White House were



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    arranged,” Ex. D (Suppl. Resp. to Interrog. No. 17), at 8-9, but has not identified any

    person from his Congressional Office who assisted in arranging such visits, who

    likely possesses, at minimum, “documents relating to” those visits (Request No. 2).


   Congressional Office chiefs of staff (Jillian Plank and Anthony Ratekin)—their roles

    as “chief of staff” signal they likely possess, at minimum, “communications” with

    Nunes or drafts of his public “statements” relating to the explosive aftermath of his

    March 21 and March 22, 2017 White House visits (Request Nos. 10, 15), and would

    be knowledgeable about the location of documents responsive to all other requests.


   Intelligence Committee assistants (Scott Glabe, George Pappas, Damon Nelson

    (deceased))—Nunes concedes that his Intelligence Committee staffers “were aware of

    allegations of the Obama administration spying on Trump associates,” Ex. D (Resp.

    to Interrog. No. 15), at 3, suggesting they likely possess documents relating to any

    “communications,” “meetings,” or “statements” by Nunes or other individuals on that

    subject (Request Nos. 4, 5, 7, 8, 9, 10, 11, 12, 13, 14, 17, 38).


   Campaign manager (Jake Mizner)—his role as “campaign manager” suggests he

    likely possesses, at minimum, documents relating to “communications” posted on

    Nunes’s campaign-funded website (www.devinnunes.com) about “lawsuits against

    The Washington Post” (Request Nos. 35, 36), see Ex. F, at 23, and any campaign

    “communications” about his March 21 or 22, 2017 White House visits (Request

    No. 16).


   Campaign employee, consultant, or other agent (unknown)—Nunes’s campaign-



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            funded website (www.devinnunes.com) references this “lawsuit” (Request Nos. 35,

            36), see Ex. F, at 23, but Nunes has not identified the person working on behalf of his

            Campaign who drafted or posted the content. Nunes’s counsel agreed during the

            meet-and-confer process to identify that person, but subsequently failed to do so.


       By designating his spokesman as his sole document custodian, Nunes failed to satisfy his

duty to search for documents “reasonably available to him from his employees, agents, or others

subject to his control,” Weaver, 107 F.R.D. at 717, or to “respond fully to document requests,”

Kleen Prods., 2012 WL 4498465, at *15. A search based on a single employee does not

“sufficiently demonstrate that responsive documents do not exist or would not be found by a

more in-depth search.” Leopold v. N.S.A., 196 F. Supp. 3d 67, 73 (D.D.C. 2016) (finding search

of a DOJ office’s records in response to FOIA request inadequate when it included two senior

employees who reviewed near-final documents but omitted responsive drafts of dozens of lower-

level employees or responsive documents of hundreds of former employees). That is especially

true given Langer’s role as Nunes’s external liaison with the press and other third parties—which

as discussed below, has resulted in production of press releases, other public documents, and

media-facing correspondence between Langer and various journalists, but no evidence of internal

deliberations or communications within Nunes’s office. See, e.g., Mann v. City of Chicago, 2017

WL 3970592, at *4 (N.D. Ill. Sept. 8, 2017) (mayor’s search for documents from two police

liaisons in his office was unreasonable because “the Mayor and his upper level staff also might

have responsive emails” and may “not include” the liaisons in their internal discussions).

       B.      Nunes’s Production Omits Internal Communications and Other Documents,
               and His Assertions That No Documents Exist Are Implausible.

       Relatedly, Nunes’s production in response to the Post’s document requests is deficient

because it omits any internal communications and other documents likely to exist. Rather than


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commit to producing all responsive documents, Nunes appears to have chosen certain documents

to produce and objected to producing others, without specifying any grounds for doing so.

       A party must “produce any documents responsive to” document requests when it fails to

specify grounds for objections. Inova Health Care Servs., 2021 WL 6503725, at *5. The party

may not elect to produce “some, but not all, responsive documents,” Escamilla v. Nuyen, 2015

WL 4245868, at *5, *10 (D.D.C. July 14, 2015), even if it considers the documents it chooses to

be “sufficiently comprehensive,” Dage v. Leavitt, 2005 WL 8167603, at *2 (D.D.C. Aug. 18,

2005). When a party asserts that no responsive documents exist, and that assertion is implausible

or contradicted by the public record or other evidence, courts compel a diligent search. See, e.g.,

U.S. Commodity Futures Trading Comm’n v. Trade Exch. Network Ltd., 61 F. Supp. 3d 1, 8

(D.D.C. 2014) (responding party “stretches credulity past its breaking point to assert that [it] has

no documents regarding a Consent Order that [the party] itself entered into—this Court simply

cannot believe that without further explanation”); Collett v. Socialist Peoples’ Libyan, 2005 WL

8167600, at *4 (D.D.C. Nov. 23, 2005) (assertion that no documents exist was contradicted by

“ample publicly available evidence” showing responding parties “were not diligent in their

inquiries” and “did not make a good faith effort to respond”).

       Here, Nunes’s 164-document production consists of media-facing correspondence and

other documents sanitized for public consumption. With the exception of a two-page “agenda”

for March 21 and 22, 2017, the only documents that Nunes produced were public records, his

spokesman’s email correspondence with media outlets or journalists, highly publicized letters to

government agencies, and advocacy pieces that appear to have been created for use in this

litigation. Nunes did not produce any documents that reflect internal discussion between or

among him and his Congressional Office, Intelligence Committee, or Campaign staff, or any




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communications between him or his staff and anyone at the White House. Nunes also did not

produce any internal drafts or other deliberative documents, such as notes, talking points, or

preparation materials. Indeed, Nunes did not produce even a single document from his own

personal files, including from any of his own computers, email accounts, or other devices.

Nunes did not object to producing such documents or specify any grounds for such an objection,

but instead claimed that “there is no further information to provide.” Ex. G, at 3-4.

       It is implausible that neither Nunes nor his Congressional Office, Intelligence Committee,

and Campaign staff possess any communications reflecting internal discussion, deliberation,

coordination, or commentary of Nunes’s so-called “midnight run” or allegations of “Obama

administration surveillance” of which they undisputedly had knowledge. It “stretches credulity

past its breaking point,” U.S. Commodity Futures Trading Comm’n, 61 F. Supp. 3d at 8, to assert

that there are no records or coordination of Nunes’s trips to the most secure facilities in the

world, including any coordination of Nunes’s meeting with Michael Ellis on March 21, 2017, or

Nunes’s meeting with the President of the United States on March 22, 2017. See Exs. A & C

(Request Nos. 2, 4, 11, 37, 38, 41). Likewise, it is improbable for Nunes to assert that there are

no communications or drafts regarding his public statements or press releases regarding the
                                                                                        4
events and allegations that ignited a political firestorm and national media coverage. See Ex. A

(Request Nos. 3, 4, 5, 6, 7, 8, 9, 10, 12, 13, 14, 15, 16, 17, 28, 29). The absence of such

documents suggests that Nunes failed to conduct a diligent search in response to the Post’s

requests. U.S. Commodity Futures Trading Comm’n, 61 F. Supp. 3d at 8 (court “simply cannot

believe” no documents exist “without further explanation”); see, e.g., Axis Ins. Co. v. Am.


4
 Indeed, Nunes elsewhere has acknowledged that he “worked on” statements and press releases
with members of his staff, including Langer, but no documents reflecting any of that “work”
have been produced. Ex. B (Suppl. Resp. to Interrog. No. 2), at 5.


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Specialty Ins. & Risk Servs., Inc., 2021 WL 2910814, at *8 (N.D. Ind. July 12, 2021) (“apparent

paucity of responsive communications” raised “legitimate concerns” regarding diligence of

party’s search); Organo Gold Int’l, Inc. v. Aussie Rules Marine Servs., Ltd., 2019 WL 7371831,

at *4 (S.D. Fla. Sept. 20, 2019) (party lacked “any explanation for conducting its initial search in

such a way that omitted internal communications”); Sarieddine v. D&A Distrib., LLC, 2018 WL

5094937, at *4 (C.D. Cal. Apr. 6, 2018) (granting motion to compel when party contended

opponent’s production was “unreliable because it lacks internal communications”).

       Nunes’s other discovery responses also are deficient. In many responses, Nunes

implausibly asserted that no documents exist, when that is contradicted by “ample publicly

available evidence,” Collett, 2005 WL 8167600, at *4; cited certain documents he considers

“sufficiently comprehensive,” without committing to produce all responsive documents, Dage,

2005 WL 8167603, at *2; or stated “generic, non-specific” objections, without specifying their

grounds, Klayman, 2008 WL 11394169, at *3. The following examples illustrate those

pervasive deficiencies:


              Request for Production Nos. 37—The Post requested documents from three

               weeks in March 2017 that reference the White House Worker and Visitor Entry

               System (“WAVES”) database used to monitor entry and access to White House

               offices. In an initial response, Nunes stated, “None,” and supplemented his

               response only to add: “I have no idea if the WAVES system was used for my

               White House visit.” It is inconsistent for Nunes to claim first that no responsive

               documents exist, and then to claim that he has “no idea” if responsive documents

               exist. Any claim that there are no responsive documents in Nunes’s possession,

               custody, or control also appears inconsistent with the public record concerning



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              how White House visits are recorded. See, e.g., Citizens for Resp. & Ethics in

              Washington v. U.S. Dep’t of Homeland Sec., 527 F. Supp. 2d 76, 90 (D.D.C.

              2007) (observing that “the authorized pass holder” supplies content for WAVES

              records, and “an email from the pass holder to the Secret Service is typically the

              triggering event that leads to the creation of the record” in the WAVES database).


             Request for Production Nos. 8, 9, 10—The Post requested documents relating to

              Nunes’s “statements” about Obama administration surveillance, including on
                              5
              March 22, 2017. In response, Nunes stated: “See Appendix A; Appendix E;

              Appendix F; Press releases cited in response to request no. 1.” Ex. A, at 17.

              Nunes did not produce any drafts of the public statement he gave on March 22,

              2017, or public statements on any other date. Nor did he produce correspondence

              within his offices about those statements, or correspondence about any of his

              public appearances on media networks, including Fox News and CNN.


             Request for Production Nos. 2, 41—The Post requested “travel expenses” or

              “receipts” related to transportation Nunes used in Washington D.C. on March 21,

              2017—the day of the so-called “midnight run.” In response, Nunes stated:

              “None. There are no responsive documents because, as previously stated, I did

              not take an Uber to the White House.” Ex. C, at 10. But Nunes publicly stated

              that on March 21, 2017, he “was in a cab with staff” on the way to the White

              House. See Jake Tapper, Who cleared Devin Nunes into the White House? CNN



5
 C-SPAN (Mar. 22, 2017), https://www.c-span.org/video/?425829-1/devin-nunes-confirms-
incidental-surveillance-trump-transition-team.


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      Ex. F (Devin Nunes Website), at 23. During the parties’ meet and confer,

      Nunes’s counsel acknowledged that he was unaware of these statements. He

      agreed to identify the Campaign staffer(s) who prepared this content for Nunes’s

      campaign-funded website. Ex. L, at 3. However, he failed to do so. Nunes did

      not collect or produce any documents or information from Campaign staff.


     Request for Production Nos. 28, 29—The Post requested documents relating to

      “ethics complaints” filed against Nunes relating to his March 2017 statements

      following the so-called “midnight run” and to his litigation against journalists.

      Nunes objected, stating: “Objection – relevance; not proportional to needs of case;

      attorney-client privilege,” and included a hyperlink to one of his own press

      releases. Ex. A, at 26. Nunes did not specify any grounds for his objections.

      Documents relating to publicly available ethics complaints against Nunes in

      connection with the events at issue in this lawsuit are relevant because Nunes has

      alleged that the Post falsely portrayed him as “unethical” in the Article. See Am.

      Compl. ¶¶ 9 (“unethical”), 19 (“lack of ethics”). Evidence of Nunes’s compliance

      with House ethics rules is relevant to rebutting his own allegations. In addition,

      documents related to the House ethics investigation of Nunes’s conduct during the

      so-called midnight run, which prompted him weeks later to recuse himself from

      the Intelligence Committee’s impeachment inquiry, would be probative of

      Nunes’s state of mind, motive for the trip, and reputation, which are all at issue.


     Request for Production No. 27—The Post requested documents sufficient to

      identify “all sources of funding” Nunes is “using to pay costs, expenses, or fees




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             for litigation against The Washington Post.” In response, Nunes stated:

             “Objection – Relevance.” Ex. A, at 25. Nunes did not specify any grounds for

             his objections. But such documents are relevant for the multiple reasons set forth

             above. First, Nunes alleged that the Post falsely portrayed him as “unethical” in

             the Article, see Am. Compl. ¶¶ 9, 19, but Nunes has been accused of having
                                                                                      7
             “improperly received legal services in violation of House gift rules,” and

             evidence that Nunes broke House ethics rules by receiving but not disclosing legal

             services to litigate actions against the Post would rebut his own allegations. See,

             e.g., Berger v. Seyfarth Shaw, LLP, 2008 WL 4570687, at *1 (N.D. Cal. Oct. 14,

             2008) (“fee-payment arrangements are relevant to credibility and bias, and

             discoverable”). Second, discovery will refute the “David vs. Goliath” narrative in

             Nunes’s litigation against the Post, see Am. Compl. ¶ 22(e) (referring to Post’s

             “institutional hostility, hatred, extreme bias, spite and ill-will”); Compl. ¶ 1,

             Nunes v. WP Co., No. 20-cv-1403 (D.D.C.) (alleging Jeff Bezos “purchased

             WaPo in 2013 for the purpose of using WaPo’s mighty pen to influence Federal

             elections” and “Bezos and his printing press remain desperate to defame the

             President of the United States and his allies in Congress”), which courts have

             found a sufficient basis for such discovery, including in another case involving

             Nunes. Nunes v. Lizza, 2021 WL 7186264, at *6 (N.D. Iowa Oct. 26, 2021); see

             also Cont’l Cirs. LLC v. Intel Corp., 435 F. Supp. 3d 1014, 1019 (D. Ariz. 2020).

             Third, discovery will probe Nunes’s alleged damages of over $200 million, and


7
 Letter from Campaign Legal Center to Office of Congressional Ethics 7 (Feb. 26, 2020),
https://campaignlegal.org/sites/default/files/2020-02/Letter%20from%20CLC%20to%20OCE%
20Board_2-26-20_Final_with%20exhibits.pdf.


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               test whether Nunes brought this case for political fundraising. See Jake Bernstein,

               The Fundraising Pulpit, N.Y. REVIEW OF BOOKS (Apr. 23, 2020),

               https://www.nybooks.com/articles/2020/04/23/republican-fundraising-pulpit/ (“no

               one else exploits the courts as part of their fundraising strategy like Nunes,”

               noting that in December 2019, “as he was making headlines battling CNN in the

               courts, the Nunes campaign raked in nearly $300,000 in contributions”).


      Nunes also has not produced specific documents he identified and committed to provide.

For example:


              Request for Production No. 25—The Post requested documents sufficient to

               show the dates and amounts of monetary damages Nunes has sought for other

               recent claims of reputational harm. On November 24, 2021, Nunes responded:

               “I will produce copies of the Complaints, which show the dates and amounts of

               monetary damages sought for claims of reputational harm that I have made in the

               past five years.” Ex. A, at 25. Nunes failed to produce those documents.


              Request for Production No. 40—The Post requested documents sufficient to

               show the terms of Nunes’s current employment and compensation with the Trump

               Media & Technology Group, as related to Nunes’s claimed damages. On January

               20, 2022, Nunes responded that such documents “will be produced.” Ex. C, at 9.

               Nunes failed to produce those documents, although during a meet-and-confer call

               on June 9, 2022, Nunes’s counsel again affirmed that Nunes would produce them.


      The foregoing examples illustrate the unreasonableness of Nunes’s search for documents




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and the egregiousness of his omissions, which render implausible his assertions that no other

documents exist that are responsive to the Post’s discovery requests.

       C.      Nunes’s Production Omits Requested Metadata.

       Nunes’s production of emails and other electronic documents also is deficient because it

lacks metadata identifying who created the documents or when they were created or modified. A

party’s discovery requests “may specify the form or forms in which electronically stored

information is to be produced.” Fed. R. Civ. P. 34(b). Courts require parties to produce any

requested metadata as part of their production of electronically stored information. D’Onofrio v.

SFX Sports Grp., Inc., 247 F.R.D. 43, 48 (D.D.C. 2008) (summarizing lesson from recent cases

“that in order to obtain metadata you may need, you should specifically ask for it to begin with”

(citation omitted)); see, e.g., Hagenbuch v. 3B6 Sistemi Elettronici Industriali S.R.L., 2006 WL

665005, at *3 (N.D. Ill. Mar. 8, 2006) (ordering production of “metadata” including “information

such as the creation and modification dates” so recipient can “piece together the chronology of

events and figure out, among other things, who received what information and when”).

       Here, the Post requested metadata from Nunes to help identify the sources of relevant

discovery and the provenance of electronic documents. Exs. O & P, at 2-3 (“Document” defined

to include “all electronically stored information,” which “shall be construed to include all

available metadata associated with any electronically stored information”); Ex. J, at 5. Although

Nunes did not object to producing metadata, he never provided it. Instead, he produced 109

native emails in .msg format which he collected from undisclosed accounts or other repositories

of his spokesman Jack Langer, and 55 Word or PDF documents for which there is no custodial

information or other original metadata (other than the date of production). Many of those Word

or PDF documents appear to consist of self-serving argument or assertions compiled by Nunes or

Nunes’s attorney—such as documents that lack an author, are dated on the day of production in


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November 2021, and bear filenames like, “Attacks on Nunes related to WaPo Nov 9 2020

story.pdf,” “General Russia collusion attacks on Nunes.pdf,” or “Appendix C Threats.pdf.”

       Nunes’s refusal to supply original metadata for electronic documents prevents the Post

from learning “who received what information and when” for the few documents Nunes

produced. Hagenbuch, 2006 WL 665005, at *3. Nunes’s omission of requested metadata also

mirrors Nunes’s refusal to identify persons among his staff with responsive information or to

identify repositories of responsive documents within his possession, custody, or control.

                                         *       *       *

       Nunes’s failure to comply with the Federal Rules of Civil Procedure in conducting a

diligent search for responsive documents and information is precluding the Post from obtaining

meaningful discovery of documents in Nunes’s possession, custody, or control. Given Nunes’s

designation of a single document custodian from his sizable staff, the substantial gaps in his

document production, his evasion of any commitment to produce all responsive documents, and

his refusal to produce basic metadata for the few documents he produced, the Post respectfully

requests that the Court compel Nunes to comply with his discovery obligations. Compliance

should include conducting a diligent search for documents responsive to the Post’s requests by

identifying appropriate Congressional Office, Intelligence Committee, and Campaign staff as

document custodians; promptly producing any responsive documents in those custodians’

possession, custody, or control, along with any original metadata showing who created each

document and when it was created or modified; and identifying any custodians or locations of

discoverable documents from which responsive documents have not been preserved.

II.    Nunes Failed To Answer the Post’s Interrogatories.

       For similar reasons to those identified above, Nunes should be required to supplement his

responses to the Post’s interrogatories (Interrogatory Nos. 1-17). First, as with his responses to


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the Post’s document requests, Nunes admitted that the only information upon which he based his

interrogatory responses was limited to his own personal recollection and a consultation with his

spokesman, Jack Langer. Ex. E, at 5 (Resp. to Interrog. No. 18). Second, many of Nunes’s

interrogatory responses are evasive, contradictory, or otherwise inadequate under Federal Rule of

Civil Procedure 33.

       A.      Nunes’s Interrogatory Responses Are Deficient Because They Fail To Reflect
               Information Available from Staff or Records.

       Nunes’s failure to respond to interrogatories based on information outside his own

recollection and that of anyone other than his spokesman, Jack Langer, is unreasonable. That is

because Nunes is required to “fully” answer each interrogatory, Fed. R. Civ. P. 33(b)(3), and

each answer must be “true, explicit, responsive, complete and candid.” Barnes v. District of

Columbia, 283 F.R.D. 8, 10 (D.D.C. 2012). “In answering interrogatories, a party is charged

with knowledge of what its agents know, or what is in records available to it, or even, for

purposes of Rule 33, information others have given it on which it intends to rely in its suit.” 8B

Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure § 2177 (3d ed.).

       A party “cannot limit his answers to matters within his own knowledge and ignore

information immediately available to him or under his control.” Escamilla v. Nuyen, 2015 WL

4245868, at *5 (D.D.C. July 14, 2015); see Olmert v. Nelson, 60 F.R.D. 369, 370 (D.D.C. 1973)

(“party may not so limit his answers” to interrogatories by opting to “answer solely on the basis

of his own knowledge and not acknowledge information” the party “has under his control”);

O’Rourke v. Audio Stats Educ. Servs., Inc., 1987 WL 11998, at *1 (D.D.C. May 26, 1987) (party

may not respond “in a vague and generalized fashion based merely upon the recollections of”

corporate secretary, but must “make some attempt to find answers”); see also Maurer v. Jones,

2019 WL 3890924, at *5 (W.D. Ky. Aug. 19, 2019) (party “may not claim ignorance as an



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excuse to the requirements of discovery”). Nor may a party depend on its own recollection

“supplemented with information based on what [the party] could recall being told” by another

person. Angrignon v. KLI, Inc., 2009 WL 10667097, at *1 (S.D. Fla. Apr. 20, 2009). Instead, a

party should undertake a reasonable search for responsive information, which “includes an

investigation and inquiry of employees, agents, and others, who conceivably, but in realistic

terms, may have information which may lead to or furnish the necessary and appropriate

response.” F.D.I.C. v. Halpern, 271 F.R.D. 191, 193-94 (D. Nev. 2010).

       Here, Nunes admitted that he relied on his own memory and a consultation with his

spokesman to respond to the Post’s interrogatories, without even attempting to obtain relevant

information from other Congressional Office, Intelligence Committee, or Campaign staffers

knowledgeable about the topics at issue. Ex. E, at 5 (Resp. to Interrog. No. 18: “The only person

I communicated with in preparing the [responses to the Post’s interrogatories], aside from my

attorney, was Jack Langer.”). Yet in several responses, Nunes admitted that he “cannot recall”

the answers, and decided not to make any attempt to obtain them. For example, in response to

Interrogatory No. 17, seeking information about his visit to the White House in the so-called

“midnight run” episode, Nunes responded: “I cannot recall how my visits to the Eisenhower

Executive Office Building or the White House were arranged”—a topic about which he could

ask the Congressional Office or Intelligence Committee staffers who arranged them. Ex. C, at 7.

In response to Interrogatory No. 2, seeking the identities of individuals who worked with Nunes

to draft public statements and press releases in 2017, Nunes responded: “I cannot recall with

whom I worked on specific statements and press releases five years ago, but most likely it was

HPSCI communications director Jack Langer”—a hypothesis that he could confirm with Langer

or any of his other Congressional Office or Intelligence Committee staffers. Ex. A, at 5-7. In his




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supplemental response to Interrogatory No. 1, seeking information about his itinerary on the day

of the so-called “midnight run,” Nunes asserted that he could not provide “specific times”

because “I do not have a minute-by-minute account of my activities that day, or any day”—but

his answer does not reflect any information that his Congressional Office scheduler or assistants

could have prepared. Ex. B, at 3. And in his supplemental response to Interrogatory No. 15,

seeking a description of the knowledge of relevant staffers, Nunes asserted that all of his

Intelligence Committee staffers would have “no knowledge of these areas aside from what [they]

read in the press”—a claim he cannot plausibly make after admitting that he only consulted with

one staffer, Jack Langer, to prepare his discovery responses. Ex. D, at 3-6.

       Nunes should not be allowed to “claim ignorance as an excuse” to answering the Post’s

interrogatories, Maurer, 2019 WL 3890924, at *5, while admitting that his only investigation of

the facts consisted of trying to remember them and talking with his spokesman. Nunes must

make a serious “attempt to find answers,” O’Rourke, 1987 WL 11998, at *1, from the

Congressional Office, Intelligence Committee, and Campaign records and personnel “available

to him or under his control,” Escamilla, 2015 WL 4245868, at *5.

       B.      Nunes’s Interrogatory Responses Are Incomplete, Evasive, or Contradictory.

       In addition to Nunes’s interrogatory responses being limited to matters within his own

personal recollection and that of a spokesman, Nunes’s responses also are inadequate on their

face because they contradict his other statements, recycle allegations, or dodge or object to the

questions posed. Courts require supplementation when a party’s interrogatory responses

“directly contradict” the party’s other statements. Williams v. Johanns, 2006 WL 3826967, at *5

(D.D.C. Dec. 28, 2006). A party also cannot respond by “merely restating allegations” or giving

partial answers that are “incomplete or evasive.” Covad Commc’ns Co. v. Revonet, Inc., 258

F.R.D. 17, 19 (D.D.C. 2009); see Shvartser v. Lekser, 321 F.R.D. 23, 24 (D.D.C. 2017) (granting


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motion to compel when responses were “far from the full answers required by Rule 33”).

       The following responses illustrate examples of Nunes contradicting his own statements,

restating allegations from his complaint, or otherwise avoiding providing full and complete

answers to the Post’s interrogatories:


              Interrogatory No. 16—The Post requested that Nunes identify “all custodians

               who have relevant documents within your possession, custody or control” and

               information about “every repository ever used by that custodian to send, receive,

               or store relevant communications or documents,” the “date range” and “subject

               matter” of documents in each repository, and “whether you have collected

               documents from the repository.” In response, Nunes stated, “None,” and further

               stated: “I have no relevant documents in my custody, possession, or control aside

               from the documents I have already provided. I collected the documents from my

               office and from publicly available sources, such as the Clerk of the House of

               Representatives.” Ex. D, at 7. Nunes’s response is “incomplete” and “evasive.”

               Covad Commc’ns, 258 F.R.D. at 19. Nunes’s statement that he collected

               documents “from my office” does not answer an interrogatory seeking the names

               of individuals who possessed documents, the locations where those documents

               were stored, and whether he has collected documents from any of those locations.


              Interrogatory No. 1—The Post requested “a complete itinerary” of Nunes’s

               “activities and whereabouts on March 21, 2017,” including the “specific location

               and time” he departed for the White House, arrived at the White House, and left

               for destinations thereafter. In response, Nunes stated he departed from the U.S.




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      Capitol “in the late afternoon,” arrived at the White House grounds “in the late

      afternoon,” and left “approximately 90 minutes later” for a “reception at the

      National Building Museum.” Ex. A, at 5. Nunes defended the ambiguity of his

      response by asserting that “[n]o specific times were provided because I do not

      have a minute-by-minute account of my activities that day, or any day for that

      matter.” Ex. B, at 2-3. Again, Nunes’s response is “incomplete,” Covad

      Commc’ns, 258 F.R.D. at 19, including because he did not consult his scheduler at

      the time, Jennifer Morrow, or any records relating to his activities or whereabouts

      on the day of the so-called “midnight run,” which he has placed at the center of

      his defamation claim. Nunes should be required to supplement his response by

      consulting knowledgeable persons and documents within his possession, custody,

      or control that may shed light on the answer, such as schedules, call records, or

      emails of his staffers.


     Interrogatory No. 2—The Post requested identification of “each person you

      believe to possess knowledge or information concerning the allegations.” In

      response, Nunes identified Post employees and Members of Congress, but

      asserted “no staff members” other than Jack Langer ever discussed or helped

      coordinate his March 21 and March 22, 2017 visits to the White House. Ex. A, at

      5-7; Ex. B, at 5. But that is contradicted by Nunes’s prior statement that he “was

      in a cab with staff” on March 21, 2017 and “dropped them off before” his White

      House visit. Supra at p. 17. Because Nunes’s response “directly contradicts” his

      prior statement, his answer is incomplete. Williams, 2006 WL 3826967, at *5.




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     Interrogatory No. 17—The Post requested that Nunes identify any

      communications relating to his March 21 or March 22, 2017 visits to the White

      House, including “all communications coordinating” the visits. In response,

      Nunes asserted he has “no such records” and “cannot recall how my visits to the

      Eisenhower Executive Office Building or the White House were arranged.”

      Ex. C, at 7; Ex. D, at 8-9. Yet again, Nunes’s response is incomplete because it

      fails to account for any communications by himself or any of his staff members

      regarding his trips to the White House, including communications that

      undoubtedly occurred if only to coordinate the logistics of his visits to the most

      secure facility in the world and to meet with the President of the United States.


     Interrogatory No. 6—The Post requested facts underlying Nunes’s $200 million

      damages claim, including identification of “the basis for the calculation” of each

      category of damages, “any documents that support or form the basis” of each

      calculation, and “any persons with knowledge” of such damages. In response,

      Nunes cited his own “Rule 26(a)(1) Disclosures,” “discovery responses,” and six

      pages containing string citations to damages-related case law. Ex. A, at 9; Ex. B,

      at 6-13. Neither Nunes’s initial disclosures, nor his discovery responses, nor his

      lengthy citations to case law contain any of the requested information regarding

      the factual basis for his claimed damages and any relevant witnesses or

      documents. Because Nunes’s response consists of “merely restating allegations,”

      his answer is incomplete. Covad Commc’ns, 258 F.R.D. at 19.


     Interrogatory No. 13—The Post requested that Nunes identify “all sources of




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      funding you are using to pay costs, expenses, or fees for litigation against The

      Washington Post.” In response, Nunes stated, “Objection – Relevance,” just as he

      did in response to the Post’s request for documents relating to the same topic.

      Ex. A, at 13. As with the Post’s document request (Request No. 27), such

      information is relevant for multiple reasons. As discussed above, supra at pp. 19-

      21: (1) Nunes alleged that the Article portrayed him as “unethical,” and evidence

      that Nunes received without disclosing legal services to litigate defamation

      actions against the Post in violation of House ethics rules would rebut those

      allegations; (2) evidence that Nunes is receiving outside funding to litigate his

      defamation actions will refute the “David vs. Goliath” narrative in Nunes’s

      allegations against the Post; and (3) discovery will probe Nunes’s claim to $200

      million in damages. Because Nunes’s response consists entirely of a generic,

      boilerplate objection to relevance and fails to specify grounds for that objection,

      Nunes should be required to supplement his response with requested information.

      Inova Health Care Servs., 2021 WL 6503725, at *1.


     Interrogatory No. 14—The Post requested that Nunes identify all “sources of

      income over the past five years” and “the total amount of income derived from

      each source per year.” In response, Nunes merely stated: “See 2016-2020

      Financial Disclosure Reports attached,” referring to annual disclosures publicly

      available from the House of Representatives (https://disclosures-clerk.house.gov/

      PublicDisclosure/FinancialDisclosure). Ex. A, at 13. However, as the Post noted

      in a December 10, 2021 letter to Nunes’s counsel, see Ex. J, at 5, Nunes’s public

      disclosures do not purport to reflect his government salary or benefits, and only



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               provide “ranges” of other sources of income (e.g., “$15,001 - $50,000”). Because

               Nunes’s response simply recycles public information without adding responsive,

               non-public information, Nunes should be required to supplement his response.

                                         *       *      *

       Nunes failed to comply with his obligation to “fully” answer interrogatories under

Federal Rule of Civil Procedure 33, including by failing to base answers on information

available to him outside his spokesman and lawyer, and by evading the Post’s requests for the

basic factual information needed to test his allegations, including his claimed entitlement to $200

million in damages. The Post respectfully requests that the Court compel Nunes to comply with

his discovery obligation to provide “responsive, complete, and candid” answers to the Post’s

interrogatories. Barnes, 283 F.R.D. at 10. Nunes’s compliance should include identifying

Congressional Office, Intelligence Committee, and Campaign staff available to consult for

responsive information, and promptly supplementing his responses to include that information.

III.   Nunes Failed To Provide Any Computation To Support Initial Disclosures Claiming
       $200 Million in Alleged Damages.

       Nunes also should be required to supplement his initial disclosures to include the

“computation of each category of damages claimed” required by Federal Rule of Civil Procedure

26(a)(1)(A)(iii). Courts reject a “mere undifferentiated statement of damages” stated in “wholly

general terms.” Williams v. Johnson, 278 F.R.D. 10, 13 (D.D.C. 2011); Armenian Assembly of

Am., Inc. v. Cafesjian, 746 F. Supp. 2d 55, 71 (D.D.C. 2010). “A defendant is entitled to specific

and detailed information as to the amount of damages allegedly sustained by a plaintiff as a

result of the defendant’s purported behavior, how those amounts were determined, how the loss

was attributable to the defendant, and the dates applicable to each purported loss.” Nat’l Cmty.

Reinvestment Coal. v. NovaStar Fin., Inc., 2009 WL 10719757, at *2 (D.D.C. July 13, 2009).



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       Here, Nunes’s damages disclosure consists of nothing more than boilerplate and dollar

figures totaling $200 million, separated into categories of “presumed damages,” “actual injuries,”

“special damages,” and “punitive damages.” Ex. H. Nunes included no information regarding

“how those amounts were determined.” Nat’l Cmty. Reinvestment, 2009 WL 10719757, at *2.

Nor did he provide such information in response to interrogatories (e.g. Interrog. No. 6, see Ex.

A, at 9) in which the Post “independently requested a calculation of damages”—a compound

failure courts find “especially troubling.” Am. Prop. Constr. Co. v. Sprenger Lang Found., 274

F.R.D. 1, 9 (D.D.C. 2011).

       Nunes’s outrageous damages claim appears to be little more than an improper attempt to

harass his adversaries, without any good faith basis. Courts recognize that when a plaintiff seeks

“tens or hundreds of millions of dollars in damages without any allegation to suggest that [his]

alleged injuries support these amounts”—as Nunes has done here—that “suggests that [the]

plaintiff is not motivated by the merits of his claims” and that the lawsuit is “intended to harass

defendants.” Hiramanek v. Cal. Jud. Council, 2016 WL 6427870, at *9 (N.D. Cal. Oct. 31,

2016) (finding plaintiff a vexatious litigant), aff’d, 754 F. App’x 580 (9th Cir. 2019); see, e.g.,

Phila. Sunday Press, Inc. v. Consumers United Cap. Corp., 1987 WL 10242, at *1-2 (D.D.C.

Apr. 16, 1987) ($5 million damages claim was “incredible” and a “clear violation of Rule 11”).

       Although Nunes represented to the Court that he would “supplement his initial

disclosures by April 29, 2022 to include a more specific computation,” he failed to do so. See

Ex. G, at 4. Other courts recently have sanctioned Nunes’s counsel for failing to supplement

threadbare damages disclosures. See, e.g., Amari v. Griffin, No. 5:20-cv-50, ECF No. 61, at *6-7

(W.D. Va. May 9, 2022) (sanctioning same counsel for failing to supplement damages disclosure

consisting of “nothing more than a lump sum statement”). The Post respectfully requests that the




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Court require Nunes to supplement his initial disclosures and interrogatory responses to provide

the information required by Federal Rule of Civil Procedure 26 relating to his claimed damages.

                                        CONCLUSION

       For the reasons above, the Post respectfully requests that the Court grant its motion to

compel.




                         STATEMENT PURSUANT TO LCvR 7(m)

       Defendants’ counsel discussed the issues raised in this Motion with Plaintiff’s counsel in

a good-faith effort to determine whether there is any opposition to the relief sought and to narrow

the areas of disagreement. Plaintiff opposes the Motion.




Dated: June 10, 2022                         Respectfully Submitted,


                                             WILLIAMS & CONNOLLY LLP

                                             By: /s/ Thomas G. Hentoff

                                                  Kevin T. Baine (D.C. Bar No. 238600)
                                                  Thomas G. Hentoff (D.C. Bar No. 438394)
                                                  Nicholas G. Gamse (D.C. Bar No. 1018297)
                                                  Sean M. Douglass (D.C. Bar No. 1033069)
                                                  680 Maine Avenue, SW
                                                  Washington, DC 20024
                                                  Telephone: (202) 434-5000
                                                  Facsimile: (202) 434-5029

                                                  Counsel for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2022, I electronically filed the foregoing Defendants’

Motion to Compel Discovery from Plaintiff with the Clerk of the Court by using the CM/ECF

system, which will send a notice of electronic filing to registered CM/ECF participants.



                                                     /s/ Thomas G. Hentoff
                                                     Counsel for Defendants
